     Case 4:21-cv-01154-O Document 39 Filed 08/05/22        Page 1 of 2 PageID 604



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

UMB BANK, N.A.,                             §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §   Civil Action No. 4:21-cv-01154-O
                                            §
ALL COMMERCIAL                              §
FLOORS, INC.,                               §
                                            §
        Defendant.                          §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed, and the Magistrate Judge’s

Recommendation is ripe for review. The District Judge reviewed the proposed Findings,

Conclusions, and Recommendation for plain error. Finding none, the undersigned District

Judge believes that the Findings and Conclusions of the Magistrate Judge are correct, and

they are accepted as the Findings and Conclusions of the Court.

        Accordingly, it is ORDERED that the Motion for Default Judgment (ECF No. 31)

is GRANTED. Accordingly, DEFAULT JUDGMENT is hereby ENTERRED as set

forth in the accompanying Final Judgment.
Case 4:21-cv-01154-O Document 39 Filed 08/05/22     Page 2 of 2 PageID 605



   SO ORDERED on this 5th day of August, 2022.




                                       _____________________________________
                                       Reed O’Connor
                                       UNITED STATES DISTRICT JUDGE




                                   2
